Case 4:19-cv-00415-ALM Document 92 Filed 09/17/20 Page 1 of 2 PageID #: 2284




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA,              )
         Plaintiff,                     )
                                        )
          v.                            )
                                        )              Case No. 4:19-cv-00415
 ALEXANDRU BITTNER,                     )
          Defendant.                    )
 _______________________________________)

                         UNITED STATES’ NOTICE OF APPEAL

       Notice is hereby given that the defendant United States of America hereby appeals to the

United States Court of Appeals for the Fifth Circuit from the Final Judgment (Dkt. #89) entered

on July 22, 2020.

       Dated September 17, 2020.




                                                    Respectfully submitted,
                                                    RICHARD E. ZUCKERMAN
                                                    Principal Deputy Assistant Attorney General

                                                     /s/ Herbert W. Linder
                                                    HERBERT W. LINDER
                                                    Ohio Bar No. 0065446
                                                    Attorneys, Tax Division
                                                    U.S. Department of Justice
                                                    717 N. Harwood St., Suite 400
                                                    Dallas, Texas 75201
                                                    Phone: (214) 880-9754
                                                    Fax (214) 880-9741
                                                    herbert.w.linder@usdoj.go
                                                    ATTORNEYS FOR UNITED STATES




                                               1
Case 4:19-cv-00415-ALM Document 92 Filed 09/17/20 Page 2 of 2 PageID #: 2285




                               CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that service of the foregoing motion has been made on

September 17, 2020, by the Clerk’s ECF filing system to:


CLARK HILL STRASBURGER
Farley P. Katz
Rachael Rubenstein
2301 Broadway St.
San Antonio, Texas 78209


                                    /s/ Herbert W. Linder
                                    HERBERT W. LINDER




                                              2
